         Case 1:19-cr-00125-ABJ Document 78 Filed 07/29/19 Page 1 of 10



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

                v.                                      Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                     Defendant.


              DEFENDANT’S SUPPLEMENTAL MEMORANDUM
        REGARDING JURY UNANIMITY AND THE UNIT OF PROSECUTION

       The Court has asked the parties to address how Count One, if not dismissed, should be

presented to the jury for a verdict, including specifically whether the verdict form should include

special interrogatories and how to ensure jury unanimity. Our answers, as explained more fully

below are:

       (1) As reflected in both parties’ proposed jury instructions, unanimity should be ensured

             through a special unanimity instruction – not through a verdict form with special

             interrogatories like the one used in the first Safavian trial. In particular, there should

             not be special interrogatories designed to differentiate between concealment offenses

             and false statement offenses, like the ones used in Safavian. The government’s

             proposed jury instruction for Count One now acknowledges that a conviction cannot

             rest solely on a false statement. See ECF 72-2 at 11; United States v. Safavian, 528

             F.3d 957, 967 n.12 (D.C. Cir. 2008).

       (2) Unanimity is required with respect to “a material fact,” because that is an element of

             the offense. That can be accomplished with a special unanimity instruction, such as

             the instruction that Defendant has proposed. See ECF 72-2 at 15. If the Court
         Case 1:19-cr-00125-ABJ Document 78 Filed 07/29/19 Page 2 of 10



           concludes that Count One charges both a concealment scheme and a falsification

           scheme, then the jurors should be instructed that they must also be unanimous as to

           whether the material fact on which they agree was falsified or concealed. If the

           manner and means allegations in ¶ 50 of the Indictment are presented to the jury as

           distinct alternative descriptions of an element of the offense—the “trick, scheme or

           device” used to conceal a material fact—then a special unanimity instruction should

           be given as to that element as well. Special interrogatories are not needed to ensure

           unanimity.

I.     THE OFFENSE CHARGED IN COUNT ONE

       The offense alleged in Count One is:

       (a) Except as otherwise provided in this section, whoever, in any matter within the
       jurisdiction of the executive, legislative, or judicial branch of the Government of
       the United States, knowingly and willfully—

       (1) falsifies, conceals, or covers up by any trick, scheme, or device a material
       fact

18 U.S.C. § 1001(a)(1) (emphasis added).

       Unlike § 1001(a)(2), which focuses on a “statement or representation,” § 1001(a)(1)

focuses on “a material fact.” Each of the other elements of the offense is tied to a particular

material fact. The material fact must be falsified, concealed, or covered up, and the falsification,

concealment or cover up of the material fact must be by trick, scheme, or device. The defendant

must have acted knowingly and willfully in concealing or falsifying the material fact by trick,

scheme or device. And the duty to disclose – whether a legal issue to be determined by the Court,




                                                 2
         Case 1:19-cr-00125-ABJ Document 78 Filed 07/29/19 Page 3 of 10



a factual element to be found by the jury, or some combination1 – must be a duty to disclose a

specific material fact. Safavian, 528 F.3d at 964.

       Count One lists a series of “facts material to the FARA Unit’s inquiry” that are alleged to

have been concealed. Indictment, ECF 1, ¶ 63. No other material facts are specified in the

Indictment.

II.    ARGUMENT

       A. No individual statement should be submitted to the jury as a possible basis for
          its verdict using a special interrogatory.

       A false statement alone cannot be the “means” of a scheme offense under § 1001(a)(1),

so the jury should not receive special interrogatories like the ones given in the first Safavian trial.

In its opposition to the motion to dismiss Count One, the government argued that the Count

could stand, even if there is no duty to disclose the information Mr. Craig is charged with

concealing, “because Defendant’s scheme included false statements.” ECF 32 at 26 (header

formatting omitted). The government cited Safavian as having allowed “the false statements

portion of the charge” to survive (as reflected in special verdicts returned after the first trial),

notwithstanding the dismissal of the “concealment portion” for lack of a duty. Id. at 27. But a

verdict on Count One in this case cannot be based on the making of a false statement, because as

the government’s proposed instruction for Count One recognizes, “[a] false statement alone

cannot constitute a trick, scheme or device.” ECF 72-2 at 12; accord Safavian, 528 F.3d at 967




1
  Pursuant to the Court’s Minute Order of July 17, 2019, Defendant intends to file a separate
brief addressing the question of whether the duty to disclose is a question of law, a question of
fact, or a mixed question of law and fact.

                                                  3
         Case 1:19-cr-00125-ABJ Document 78 Filed 07/29/19 Page 4 of 10



n.12.2 Mr. Craig was not indicted for making false statements or representations in violation of

18 U.S.C. § 1001(a)(2), and he cannot be tried for such an offense even if called something else.

       Even if a false statement alone could support a conviction under § 1001(a)(1), none of the

communications referenced in this Indictment could do so, and thus none of them can be

submitted to the jury in a special interrogatory. The Indictment references three communications

from Mr. Craig to the FARA Unit during the time period of the scheme charged in Count One: a

letter on June 3, 2013, Indictment ¶ 56, a meeting on October 9, 2013, id. ¶ 61, and a letter on

October 11, 2013, id. ¶ 62. Although the Indictment alleges that each communication included

“false and misleading statements,” there is no grand jury finding that any of the statements at the

October 9 meeting or in the October 11 letter was material. See id. ¶ 61 (no reference to

materiality); id. ¶ 62 (same).3 The June 3 letter is alleged to have contained “material false and

misleading statements and omissions,” id. ¶ 56, but the statute of limitations would bar a

conviction based on the June 3 letter, as the government has acknowledged by proposing an

instruction requiring the jury to find an act after the limitations date of October 3, 2013. See ECF

72-2 at 11–12. Thus, even if § 1001(a)(1) could theoretically be violated by an individual

statement, it would be improper to allow the jury to render its verdict in this case based on any of

the individual communications referenced in the Indictment.
2
  Although the defendant in Safavian was late to raise an objection to treating the § 1001(a)(1)
offenses as allowing conviction for individual false statements, 528 F.3d at 967 n.12, on remand
the government prosecuted the false statements charges as separate counts under 18 U.S.C.
§ 100(a)(2). Likewise, in United States v. Hubbell, 177 F.3d 11, 14 (D.C. Cir. 1999), the
indictment charged false statements separately under 18 U.S.C. § 1001(a)(2), as well as part of a
scheme offense under 18 U.S.C. § 1001(a)(1). The independent counsel never argued that it was
entitled to a verdict on the scheme offense under § 1001(a)(1) based solely on one of the false
statements also alleged in a separate count under § 1001(a)(2).
3
  Although a Bill of Particulars could not cure the absence of a grand jury finding that a
particular fact or statement was material, it is noteworthy that, in expanding on Paragraph 61 in
its Bill of Particulars, the government did not suggest that any of the particular statements at the
October 9 meeting was material. See ECF 31 at 1–4.

                                                  4
         Case 1:19-cr-00125-ABJ Document 78 Filed 07/29/19 Page 5 of 10



       B. The jury should be instructed that it must be unanimous as to a particular
          “material fact.”

       “Federal crimes are made up of factual elements, which are ordinarily listed in the statute

that defines the crime. . . [A] jury in a federal criminal case cannot convict unless it unanimously

finds that the Government has proved each element.” Richardson v. United States, 526 U.S. 813,

817 (1999). In Richardson, the Court grappled with defining when the jury must be unanimous

about which “brute facts make up a particular element.” Id. The specific issue in Richardson was

whether the jury had to be unanimous about which drug crimes (a minimum of three) constituted

the “series” of violations required to find a Continuing Criminal Enterprise (CCE) offense. Id. at

817-18. The Court interpreted the CCE statute to make each specific “violation”—i.e., each

predicate drug crime—an element of the offense, meaning that the jury needed to agree on at

least three specific “violations.” Id. at 819. The Court noted the potential unfairness in allowing a

conviction without unanimous agreement on the facts:

       The first of these considerations increases the likelihood that treating violations
       simply as alternative means, by permitting a jury to avoid discussion of the
       specific factual details of each violation, will cover up wide disagreement among
       the jurors about just what the defendant did, or did not, do. The second
       consideration significantly aggravates the risk (present at least to a small degree
       whenever multiple means are at issue) that jurors, unless required to focus upon
       specific factual detail, will fail to do so, simply concluding from testimony, say,
       of bad reputation, that where there is smoke there must be fire.

Id. at 819. The Court noted the latitude that states have under the Due Process Clause to define

crimes in ways that increase the risks of conviction despite juror disagreements about or

inattention to the essential facts, id., but saw “no reason to believe that Congress intended to

come close to, or to test, those constitutional limits when it wrote this statute.” Id. at 820.4 The


4
  There is (at present) no constitutional requirement for jury unanimity in a state criminal
prosecution. The Supreme Court will reconsider that question this Term in Ramos v. Louisiana,
Docket No. 18-5924.

                                                 5
         Case 1:19-cr-00125-ABJ Document 78 Filed 07/29/19 Page 6 of 10



Court held that the lower courts were wrong not to require the jury to agree unanimously on

which underlying violations the defendant committed in finding him guilty of a CCE offense.

       The analysis in Richardson governs this case. The plain text of section 1001(a)(1) (as

well as the government’s own proposed instruction) tells us that “a material fact” is an element

of the offense. An indictment that charged a defendant with concealing or falsifying one fact

could not support a conviction for concealing or falsifying a different fact. See United States v.

Miller, 891 F.3d 1220, 1236 (10th Cir. 2018) (indictment constructively amended in prosecution

for “furnish[ing] false or fraudulent material information” under 21 U.S.C. § 843(a)(4)(A)

because jury was permitted to convict based on a different piece of material information from the

one in the indictment). Because “a material fact” is an element under § 1001(a)(1), Richardson

makes clear that the jury must be unanimous as to a particular material fact.5

       The government agrees that a unanimity instruction should be given, but its instruction

calls for unanimity on “at least one act of concealment or falsification” rather than on at least one

material fact. ECF 72-2 at 12. The government’s proposed instruction fails to assure unanimous

agreement on an essential element: “a material fact.” If, for example, the jury interpreted “an act

of concealment” to refer to the October 11, 2013 letter, the jury could be divided about whether



5
  The concealment portion of the special verdict form in Safavian recognized that jurors must be
unanimous as to the material fact that was concealed. In each of the § 1001(a)(1) counts, the
form separately asked whether the defendant had “concealed his assistance to Mr. Abramoff in
GSA-related activities” or “concealed Mr. Abramoff’s business relationships with GSA.” United
States v. Safavian, Case No. 1:05-cr-00370-PLF, Verdict Form, ECF 119, at 2–4. Even if the
Court were to apply the pre-Richardson test for reversal based on non-unanimity articulated in
United States v. Sayan, 968 F.2d 55, 65 (D.C. Cir. 1992), there is “a genuine risk” in this case
that different jurors could vote to convict based on concealment of different material facts. The
Court of Appeals has long encouraged giving a special unanimity instruction on the defendant’s
request. United States v. Mangieri, 694 F.2d 1270, 1279-81 (D.C. Cir. 1982); see also United
States v. Crisci, 273 F.3d 235, 237 (2d Cir. 2001) (unanimity instruction cured duplicity of single
count alleging seven false statements).


                                                 6
         Case 1:19-cr-00125-ABJ Document 78 Filed 07/29/19 Page 7 of 10



Mr. Craig knowingly and willfully concealed by trick, scheme or device any one of the

numerous material facts alleged in Paragraph 63.

       There is no need for a unanimity instruction as to whether the material fact on which the

jurors agree was falsified or concealed, because Count One charges a concealment scheme only.

See Reply in Support of Motion to Dismiss Count One, ECF 36 at 9–10. The only material facts

referenced in the Indictment are alleged to have been concealed, not falsified. See Indictment

¶ 63. But the government’s proposed jury instruction treats Count One as though it charges both

a concealment scheme and a falsification scheme. See ECF 72-2 at 11 (requiring a jury finding

that “[t]he defendant concealed or covered up a fact for which there was a legal duty to disclose

imposed by statute, regulation, or government form, or the defendant falsified a fact” (emphasis

added)). If the Court allows Count One to proceed and concludes that it properly charges both a

concealment scheme and a falsification scheme, the jury should be instructed that it must be

unanimous as to whether a material fact was falsified or concealed. This should be accomplished

in the unanimity instruction, not through special interrogatories.

       Finally, Richardson does not require unanimity on the manner and means allegations in

Paragraph 50 because 18 U.S.C. § 1001(a)(1) does not make the manner and means an essential

element of the offense. However, the jury must be unanimous about the “trick, scheme or

device” element. If the manner and means allegations in Paragraph 50 are used as descriptions of

three alternative “schemes” by which material facts were concealed, then the jury should receive

an instruction concerning unanimity on the scheme element, similar to the one that Defendant

has proposed with regard to a material fact. See ECF 72-2 at 15.6



6
  In a conspiracy or fraudulent scheme case, the “manner and means” is not an element of the
offense, except insofar as it describes which conspiracy or scheme, if there is evidence of more
than one. Often the “manner and means” allegations for a scheme offense include several

                                                 7
         Case 1:19-cr-00125-ABJ Document 78 Filed 07/29/19 Page 8 of 10



                                          CONCLUSION

       If it does not dismiss Count One, the Court should ask the jury to return a verdict of

guilty or not guilty, without any special interrogatories. The Court should instruct the jury that, to

convict, it must be unanimous that the government proved beyond a reasonable doubt that Mr.

Craig knowingly and willfully concealed by trick, scheme or device a specific material fact

identified in Paragraph 63 of the Indictment.




paragraphs that give a complete description of a multi-step process, not as alternative bases for
conviction. See, e.g., United States v. Bikundi, 2016 WL 912169, *36–37 (D.D.C. March 7,
2016) (unanimity not required among “manner and means” allegations that listed six sequential
steps that led to the ultimate submission of fraudulent bills in a scheme to defraud Medicare).
Jury unanimity is required only as to elements – e.g., which material fact; which trick, scheme or
device.

                                                  8
         Case 1:19-cr-00125-ABJ Document 78 Filed 07/29/19 Page 9 of 10



Dated: July 29, 2019                       Respectfully submitted,


                                           /s/ William W. Taylor, III
                                           William W. Taylor, III (D.C. Bar No. 84194)
                                           Paula M. Junghans (D.C. Bar No. 474419)
                                           Ezra B. Marcus (D.C. Bar No. 252685)
                                           ZUCKERMAN SPAEDER LLP
                                           1800 M Street N.W. Suite 1000
                                           Washington, D.C. 20036
                                           Tel: (202) 778-1800
                                           Fax: (202) 822-8106
                                           Email: wtaylor@zuckerman.com
                                           Email: pjunghans@zuckerman.com
                                           Email: emarcus@zuckerman.com

                                           William J. Murphy (D.C. Bar No. 350371)
                                           Adam B. Abelson (D.C. Bar No. 1011291)
                                           ZUCKERMAN SPAEDER LLP
                                           100 East Pratt Street, Suite 2440
                                           Baltimore, MD 21202
                                           Tel: (410) 332-0444
                                           Fax: (410) 659-0436
                                           Email: wmurphy@zuckerman.com
                                           Email: aabelson@zuckerman.com

                                           Attorneys for Defendant Gregory B. Craig




                                       9
        Case 1:19-cr-00125-ABJ Document 78 Filed 07/29/19 Page 10 of 10



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 29, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF service.


                                                 /s/ Ezra B. Marcus
                                              Ezra B. Marcus




                                         10
